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                          Molson Coors Beverage Company USA LLC
                      6   fka MillerCoors LLC
                      7

                      8                                    UNITED STATES DISTRICT COURT
                      9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10    NANCY COPFER, an individual,                       CASE NO. ________________
                    11                       Plaintiff,                      NOTICE OF REMOVAL OF ACTION
                    12                                                       UNDER 28. U.S.C. § 1441(b) (Diversity)
                           vs.
                    13    MOLSON COORS BEVERAGE
                          COMPANY aka MILLERCOORS LLC;
                    14    and DOES 1 to 10,
                    15                       Defendants.
                    16

                    17

                    18    TO THE CLERK OF THE ABOVE-ENTITLED COURT:

                    19           PLEASE TAKE NOTICE that pursuant to 28 U.S.C. § 1332, 1441(b), 1446, Defendant

                    20    MOLSON COORS BEVERAGE COMPANY USA LLC fka MILLERCOORS LLC (“Defendant”

                    21    or “Molson Coors USA”) hereby removes to this Court the state court action described below.

                    22    I.     INTRODUCTION

                    23           1.      This case is hereby removed from state court to federal court because at the time the

                    24    Complaint was filed and at this time, complete diversity of citizenship exists between the parties to

                    25    this action and the alleged amount in controversy exceeds $75,000. Accordingly, this Court has

                    26    original jurisdiction under 28 U.S.C. § 1332(a).

                    27           2.      On December 16, 2021, Plaintiff Nancy Copfer (“Plaintiff”) filed a Complaint for

                    28    damages against Defendant, entitled Nancy COPFER, an individual, v. MOLSON COORS
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   ATTORNEYS AT LAW
     WALNUT CREEK
                                                        CASE NO. ________________
                                      NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
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                      1   BEVERAGE COMPANY aka MILLERCOORS LLC                                      and DOES 1 to 10, Case No.
                      2   21STCV46244, in the Superior Court of California, County of Los Angeles. The Complaint alleges
                      3   ten causes of action against Defendant, Plaintiff’s former employer. These include: (1) Wrongful
                      4   Termination in Violation of Public Policy; (2) Medical Leave Retaliation; (3) Medical Leave
                      5   Discrimination; (4) Retaliation for Requesting and Using Accommodations for Disabilities;
                      6   (5) Failure to Engage in a Timely, Good Faith, Interactive Process to Determine Reasonable
                      7   Accommodation for Disability; (6) Failure to Reasonable Accommodate Disabilities; (7) Disability
                      8   Discrimination; (8) Retaliation for Opposing Violations of FEHA; (9) Failure to Prevent and Stop
                      9   Discrimination and Retaliation; and (10) Whistleblower Retaliation (“Complaint”). A true and
                    10    correct copy of the Complaint is attached as Exhibit A.
                    11            3.       The first date upon which Defendant received a copy of the Complaint was on
                    12    December 27, 2021 when Plaintiff served Defendant with a copy of the Summons and Complaint,
                    13    First Amended General Order, Civil Case Cover Sheet, the State Court’s Early Organizational
                    14    Meeting Stipulation, Discovery Resolution Stipulation and Motions in Limine Stipulations, Order
                    15    Pursuant to CCP 1054(a) Extending Time to Respond By 30 Days When Parties Agree to Early
                    16    Organizational Meeting Stipulation, the Superior Court’s Alternative Dispute Resolution Packet,
                    17    and the Superior Court’s Notice of Assignment for Judge for all Purposes. True and correct copies
                    18    of these documents served upon Defendant as well as copies of all other documents maintained on
                    19    the state court’s docket (with the exception of the Complaint which is already attached as Exhibit
                    20    A) are collectively attached as Exhibit B.
                    21            4.       On January 21, 2022, Defendant filed and served its Answer and Affirmative
                    22    Defenses to Plaintiff’s Complaint for Damages in State Court. A true and correct copy of
                    23    Defendant’s Answer and Affirmative Defenses to Plaintiff’s Complaint for Damages is attached as
                    24    Exhibit C.2
                    25            5.       Pursuant to 28 U.S.C. § 1446(d), Defendant shall give Plaintiff, through her attorney
                    26
                          1
                            The proper name of Defendant Molson Coors Beverage Company is Molson Coors Beverage Company USA LLC,
                    27    formerly known as MillerCoors LLC.
                          2
                            In accordance with 28 U.S.C. § 1446(a), Exhibits A, B and C comprise all papers originally served on Defendant as
                    28    well as copies of all other documents maintained on the state court’s docket.
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                      1   of record, written notice of the filing of this Notice of Removal and shall file written notice of the
                      2   filing of this Notice of Removal with the Clerk of the Superior Court of the County of Los Angeles,
                      3   attaching thereto a copy of this Notice of Removal. A true and correct copy of the Notice of
                      4   Removal of Action to be filed with the State Court is attached as Exhibit D.
                      5            6.      No further proceedings have been had and fewer than thirty (30) days have elapsed
                      6   since this action became removeable to this Court. 28 U.S.C. § 1446(b). In accordance with 28
                      7   U.S.C. § 1446(b), this Notice is timely filed with this Court.
                      8            7.      If any question arises as to the appropriateness of the removal of this action,
                      9   Defendant requests the opportunity to brief any disputed issues, and to present oral argument in
                    10    support of its position that this case is properly removeable.
                    11             8.      Nothing in this Notice of Removal shall be interpreted as a waiver or relinquishment
                    12    of Defendant’s right to assert any defense or affirmative matter including, without limitation, the
                    13    defense of (1) lack of jurisdiction over the person; (2) improper venue; (3) insufficiency of process;
                    14    (4) insufficiency of service of process; (5) failure to state a claim; or (6) any other procedural or
                    15    substantive defense available under state or federal law.
                    16    II.      JOINDER
                    17             9.      Defendant is not aware of any other defendant to the Complaint having been served
                    18    with a copy of the Complaint.
                    19    III.     DIVERSITY JURISDICTION
                    20             10.     The state court action is a civil action of which this Court has original jurisdiction
                    21    under 28 U.S.C. § 1332 based on diversity jurisdiction. The state court action is properly
                    22    removeable to this Court in that it is a civil action between citizens of different states in which the
                    23    amount in controversy exceeds the sum of $75,000, exclusive of interest and costs, as explained
                    24    below.
                    25             A.      The Parties’ Citizenship
                    26             11.     There is a complete diversity of citizenship because the operative parties, Plaintiff
                    27    and Defendant, are citizens of different states.
                    28             12.     As of December 16, 2021, when the Complaint was filed, and presently, Plaintiff
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                      1   was and is a citizen and resident of the State of California. See Complaint, ¶ 4 (Exhibit A).
                      2           13.     As of December 16, 2021, when the Complaint was filed, and presently, Molson
                      3   Coors USA was and is a limited liability company organized under the laws of Delaware with its
                      4   principal place of business in Wisconsin. See Declaration of Gregory Tierney in Support of
                      5   Defendant’s Notice of Removal (“Tierney Decl.”) ¶ 4. A true and correct copy of the Tierney
                      6   Declaration is attached hereto as Exhibit E. Therefore, Defendant is a citizen of Delaware and
                      7   Wisconsin.
                      8           14.     For diversity purposes, Defendant also takes on the citizenship of its member(s). See
                      9   Johnson v. Columbia Properties Anchorage, LP, 427 F.3d 894, 899 (9th Cir. 2006) (“We therefore
                    10    join our sister circuits and hold that, like a partnership, an LLC is a citizen of every state of which
                    11    its owners/members are citizens.”).
                    12            15.     The sole member of Molson Coors USA is Molson Coors Beverage Company.
                    13    Tierney Decl. ¶ 5. Molson Coors Beverage Company is a company organized under the laws of
                    14    Delaware with its principal place of business in Colorado. Id. ¶ 5. Thus, for diversity purposes,
                    15    Molson Coors Beverage Company is a citizen of Delaware and Colorado. See 28 U.S.C. §
                    16    1332(c)(1).
                    17            16.     Because Molson Coors USA’s sole member is a citizen of Delaware and Colorado,
                    18    Molson Coors USA is also a citizen of Delaware and Colorado. See Johnson, 437 F.3d at 899.
                    19            17.     The other defendants identified in Plaintiff’s Complaint are fictitious parties
                    20    identified as “DOES 1 to10,” (Exhibit A). The citizenship of these defendants is disregarded for
                    21    purposes of removal. 28 U.S.C. § 1441(b) (“In determining whether a civil action is removeable on
                    22    the basis of jurisdiction under Section 1332(a) of this title, the citizenship of defendants sued under
                    23    fictitious names shall be disregarded) (emphasis added); see also Kruso v. Int’l Telephone &
                    24    Telegraph Corp., 872 F.2d. 1416, 1425 (9th Cir. 1989) (“[T]he presence of Doe defendants in
                    25    plaintiffs’ complaint neither defeated diversity jurisdiction nor required that the case be remanded
                    26    to state court.”).
                    27            18.     Because Plaintiff is a citizen of California, and the only named Defendant is a citizen
                    28    of Delaware, Colorado and Wisconsin, there is complete diversity among the parties.
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                      1          B.      The Amount in Controversy
                      2          19.     The amount in controversy also exceeds the minimum sum or value of $75,000.00
                      3   set forth in 28 U.S.C. § 1332(a), exclusive of interest and cost.
                      4          20.     In the Complaint, Plaintiff seeks economic damages of no less than $300,000.00 and
                      5   non-economic damages of no less than $300,000.00. In addition, Plaintiff also seeks punitive and
                      6   exemplary damages, statutory damages and penalties, costs of suit, reasonable attorney’s fees, and
                      7   any other relief the court deems just and proper. See Complaint, Prayer For Relief, ¶¶ 1-4; 7-9.
                      8          21.     Accordingly, the amount in controversy well exceeds the minimum sum of
                      9   $75,000.00 set forth in 28 U.S.C. § 1332(a), exclusive of interest and costs.
                    10    IV.    VENUE
                    11           22.     The Central District of the Superior Court of the State of California for the County
                    12    of Los Angeles is located within the Central District of California. Accordingly, this action is
                    13    properly removed to this Court. 28 U.S.C. § 84(c)(2).
                    14           Accordingly, Defendant respectfully requests that this Notice of Removal be filed, the State
                    15    Court Action be removed to, and proceed hereinafter, in this Court and that no further proceedings
                    16    in this matter take place in the Superior Court of the State of California for the County of Los
                    17    Angeles.
                    18

                    19    Dated: January 24, 2022                            QUARLES & BRADY LLP
                    20

                    21                                                       By:      /s/ James Y. Wu
                                                                                   James Y. Wu
                    22
                                                                             Attorneys for Defendant Molson Coors
                    23                                                       Beverage Company USA LLC fka MillerCoors
                                                                             LLC
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   ATTORNEYS AT LAW                                                        -5-
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                      1                                    CERTIFICATE OF SERVICE
                      2          I am a citizen of the United States and a resident of the State of Arizona, over the age of
                          eighteen years, and not a party to the within action. My business address is Renaissance One, Two
                      3   North Central Avenue, Phoenix, AZ 85004-2391. On January 24, 2022, I caused to be served the
                          following document(s):
                      4
                                             DEFENDANT’S NOTICE OF REMOVAL OF ACTION
                      5                          UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
                      6   On the party stated below by the following means of service:
                      7         By First-Class Mail I am readily familiar with this firm’s practice of collection and
                                 processing correspondence for mailing. Under that practice correspondence is deposited
                      8          with the U.S. Postal Service on that same day with postage thereon fully prepaid at Phoenix,
                                 Arizona in the ordinary course of business. The envelope described above was sealed and
                      9          placed for collection on the date indicated above following ordinary business practices. I
                                 am aware that on motion of the party served, service is presumed invalid if the postal
                    10           cancellation date or postage meter date on the envelope is more than one day after date of
                                 deposit for mailing contained in this affidavit.
                    11
                                By One Legal I caused a true and correct copy of the above-entitled document(s) to be
                    12           served electronically through One Legal to all parties appearing on the One Legal electronic
                                 service list for the above-entitled case, if available.
                    13
                                By Personal Service I caused each such envelope to be given to a courier messenger with
                    14           instructions to deliver each such envelope to the office of the below-referenced attorneys of
                                 record.
                    15
                                By Overnight Courier I caused each such envelope to be placed in a sealed package
                    16           designated by Federal Express and depositing same in an overnight express receptacle
                                 maintained by Federal Express, Phoenix, Arizona, with delivery fees provided for, with
                    17           instructions to be hand delivered to the office of the addressee on the next business day.
                                By Facsimile Fax Number (see below)
                    18
                                Based on a court order or an agreement of the parties to accept electronic service, I caused
                    19           the document(s) to be sent to the person at the electronic service address listed as follows:
                    20            Geoffrey C. Lyon                              glyon@lyonlawyer.com
                                  Lyon Law PC
                    21                                                          Attorney for Plaintiff
                                  3605 Long Beach Blvd., Suite 311
                    22            Long Beach, California 90807

                    23    I declare under penalty of perjury under the laws of the State of Arizona that the foregoing is true
                          and correct and that this declaration was executed on January 24, 2022.
                    24

                    25                                                    /s/ Dawn McCombs
                    26                                                  Declarant

                    27

                    28
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